       Case 1:20-cv-02174-ALC-GWG Document 23 Filed 10/21/20 Page 1 of 1




UNITED STATES DISTRICT COURT                                                              October 21, 2020
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------x
   LINDSAY B. STEELE ET AL,                                   :
                                                              :
                           Plaintiffs,                        :      20-cv-2174 (ALC) (GWG)
                     -against-                                :
                                                              :       ORDER
   WEIHUA LU,                                                 :
                                                              :
                           Defendant.                         :
                                                              :
                                                              :
------------------------------------------------------------x

ANDREW L. CARTER, JR., United States District Judge:

        The Court is in receipt of Plaintiffs’ response to the Court’s Order to Show Cause. (ECF

No. 22). Accordingly, the Court directs the Clerk of Court to vacate the Order to show Cause.




SO ORDERED.

Dated: October 21, 2020                             ___________________________________

        New York, New York                                        ANDREW L. CARTER, JR.
                                                                  United States District Judge
